Case 1:11-cr-00361-DHB-BKE Document 244 Filed 01/16/15 Page 1 of 1



                                    IN THE UNITED STATES DISTRICT COURT                                                                   i1i'llii;gr*,
                                                                                                                                       cr,r
                                           SOUTHERNDISTRICT OF GEORGIA                                                               "o*
                                                 AUGUSTA DIVISION
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U N I T E D S T A T E SO F A M E R ] C A
                                                                                                                                         '--L[RllC fr<tcu^-o
                                                                                                                                                           s i t D , s to. r 6 l '
                                                                                                     *          aD     111-?41
                  VS.


TIMOTHY DWIGHTGRACY



                                                                                          ORDER


                   Defendant has fifed                                         a motion for reduction                                of sentence under

18 U.S.C.                           S 3582(c) (2) on the basis                                                        that   tunendment 782 to                             che

United                     Scates Sentencing                                        Guidel jnes                      has revised           the              quideJ ines

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d l r t J t r Li -a^r h- ,l f^E         rU    u              -Lr !rqF,f    ! r iL-^l zt "i yn 1 r        .\f fancoc          ErrFn   rLh| .v\ur vr .rrrh      ArnFndm^ht-


782 became effeccive                                                  on November 1,                                  20L4, na defendant                            may be

released                           on         the           basis                 of                the        retroactive           amendment before

November I,                             2AI5,               See U.S.S.G. Anend. 788.                                             Thus, the Court wilf

underLake a review of cases involving                                                                                  drug trafficking                         offenses

in due course.                                     If       Defendant is                                  entitfed        to a sentence reduction

as            a         result                of            amendments to                                   the       United      States                    Sentencing

Guidelines,                              the          Court               wiLI                 make such a reduction                                  sua sponte.

Accordingfy,                                 Defendant's                          motion                   (doc. no.         243) is           DEFERRED.l

                  ORDERENTEREDat Augusta,                                                            Georgia,           tnis 119         a.y of January,

20L5.




                                                                                                                UNITED ST            S DISTRICT



                  1               The        Clerk           is           directed                        to    terminate         the        motlon                 for
a o f i . r n r s L r d L r vl e
- l-.i         ^.t ^r--F
                                                p-J poses.
